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MIDDLE DISTRICT OF FLORIDA 173}8 APR

UNITED STATES DISTRICT COURT _g pH 3:52
ORLANDO DIVISION ,

Civil Case Number:

David Bacorn, , & ~ JV ~SYG 7 OV2L- NO)
Plaintiff, : Lv | ( \Z ZS

Charter Communications, Inc. aka Spectrum
Billing Services, Inc.;

 

VS,

Defendant.

 

COMPLAINT
For this Complaint, Plaintiff, David Bacorn, by undersigned counsel, states as follows:
JURISDICTION

I. This action arises out of Defendant’s repeated violations of the Telephone
Consumer Protection Act, 47 U.S.C. § 227, et seg. (““TCPA”)

2. Jurisdiction of this Court arises under 47 U.S.C. § 227(b)(3), 28 U.S.C. § 1331.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant
transacts business in this District and a substantial portion of the acts giving rise to this action
occurred in this District.

PARTIES

4, Plaintiff, David Bacorn (“Plaintiff”), is an adult individual residing in Orlando,
Florida, and is a “person” as defined by 47 U.S.C. § 153(39).

5. Defendant, Charter Communications, Inc. aka Spectrum Billing Services, Inc.
(“Charter”), is a Missouri business entity with an address of 12405 Powerscourt Drive, Saint

Louis, Missouri 63131, and is a “person” as the term is defined by 47 U.S.C. § 153(39).
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ALLEGATIONS APPLICABLE TO ALL COUNTS

6. Plaintiff is a natural person allegedly obligated to pay a debt asserted to be owed
to Defendant.

7. At all times mentioned herein where Defendant communicated with any person
via telephone, such communication was done via Defendant’s agent, representative or
employee.

8. At all times mentioned herein, Plaintiff utilized a cellular telephone service and
was assigned the following telephone number: 407-XX X-8467 (hereafter “Number”).

9. Defendant placed calls to Plaintiff's Number in an attempt to collect a debt.

10. The aforementioned calls were placed using an automatic telephone dialing
system (“ATDS”) and/or by using an artificial or prerecorded voice (“Robocalls”).

11. Defendant left multiple messages on Plaintiff's answering systems using a
prerecorded voice that identified Defendant and requested a return call.

12. Onor about March 1, 2017, during a live conversation, Plaintiff requested that
Defendant cease all calls to his Number.

13. Nevertheless, the calls continued.

14. Onor about July 28, 2017, Plaintiff again requested that Defendant cease all calls
to his Number.

15. Despite Plaintiff's repeated requests, Defendant continued to call Plaintiff's
Number using an ATDS and/or Robocalls at an excessive and harassing rate.

16. Defendant's calls directly and substantially interfered with Plaintiff's night to
peacefully enjoy a service that Plaintiff paid for and caused Plaintiff to suffer a significant

amount of anxiety, frustration, and annoyance.
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COUNT I

VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C.
§ 227, et seq.

 

17. Plaintiff incorporates by reference all of the above paragraphs of this complaint as
though fully stated herein.

18. The TCPA prohibits Defendant from using, other than for emergency purposes,
an ATDS and/or Robocalls when calling Plaintiff's Number absent Plaintiff's prior express
consent to do so. See 47 U.S.C. § 227(b)(1).

19. | Defendant’s telephone system has the earmark of using an ATDS and/or using
Robocalls in that Plaintiff, upon receiving voicemails from Defendant, heard a prerecorded
message.

20. Defendant called Plaintiff's Number using an ATDS and/or Robocalls without
Plaintiff's consent in that Defendant either never had Plaintiff's prior express consent to do so
or such consent was effectively revoked when Plaintiff requested that Defendant cease all
further calls.

21. Defendant continued to willfully call Plaintiff's Number using an ATDS and/or
Robocalls knowing that it lacked the requisite consent to do so in violation of the TCPA.

22. Plaintiff was harmed and suffered damages as a result of Defendant’s actions.

23. The TCPA creates a private right of action against persons who violate the Act.
See 47 U.S.C. § 227(b)(3).

24. — As aresult of each call made in violation of the TCPA, Plaintiff is entitled to an
award of $500.00 in statutory damages.

25. Asaresult of each call made knowingly and/or willingly in violation of the

TCPA, Plaintiff may be entitled to an award of treble damages.
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PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

1. Statutory damages of $500.00 for each call determined to be in violation of

the TCPA pursuant to 47 U.S.C.§ 227(b)(3);

2. Treble damages for each violation determined to be willful and/or knowing

under the TCPA pursuant to 47 U.S.C.§ 227(b)(3);

3. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: April 2, 2018

Respectfully submitted,

/s/ Tamra Givens

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